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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    BRUNSWICK DIVISIO N



      UNITED STATES OF AMERIC A

                     Plaintiff

          vs .                                           CASE NUMBER :                CR206-34- 1

      TYRONE BERNARD BRADLE Y

                     Defendant



                                       CLERK'S CERTIFICATE/ORDE R



              The Clerk hereby certifies that         EVELYN LOUISE BRADLE Y

    has deposited with the Court the sum of $     5,000 .00        under F .R .Cv .P . 67 . The money,

    designated as Registry funds, is hereby ORDERED to be deposited in an interest bearing account

    in accordance with the general order of this Court, entered September 23, 1983 .

              DONE this      1st   day of       November 2006                     , by Order of this Court .



                                                              SCOTT L . POFF, CLERK




                                                              By




(Rev. 9/02)
